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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA
________________________________________________________________

UNITED STATES OF AMERICA,

                Plaintiff,


v.                                    ORDER
                                      Criminal File No. 05-282 (MJD/JJG)

(3) BRUCE JORDAN LIEBERMAN,

               Defendant.
________________________________________________________________



     IT IS HEREBY ORDERED that:

     1.   The Government shall disclose all Rule 16 material on or before
          February 13, 2006.

     2.   Pretrial motions shall be filed on or before April 10, 2006.

     3.   Opposition to motions shall be filed on or before April 17, 2006.

     4.   Reply memoranda shall be filed on or before April 19, 2006.

     5.   Oral argument will be heard on May 1, 2006, at 9:00 a.m. before the
          undersigned judge, in Courtroom 14E, United States Courthouse, 300
          South Fourth Street, Minneapolis, Minnesota. If an evidentiary
          hearing is required, it will be held at the same time and place.

     6.   Jury instructions, voir dire, Rule 404(b) disclosures, and expert
          witness disclosures shall be filed by September 18, 2006.

     7.   The pretrial conference will be held before the undersigned judge on
          September 22, 2006.
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     8.    Trial is set to begin on October 2, 2006.




Dated: October 28, 2005                      s/ Michael J. Davis
                                             Judge Michael J. Davis
                                             United States District Court
